              Case 3:23-cv-00636
9/26/24, 4:31 PM                             Document 134-3      Filed
                                                      Haslam Law Firm LLC09/26/24
                                                                          Mail - RE: HudsonPage
                                                                                           v. Racer,1  of 1 PageID #: 2167
                                                                                                    et al.



                                                                                               Tyler Haslam <tyler@haslamlawfirm.com>



  RE: Hudson v. Racer, et al.
  1 message

  Stebbins, James C. <jstebbins@flahertylegal.com>                                         Thu, Sep 12, 2024 at 12:09 PM
  To: KERRY NESSEL <nessel@comcast.net>, "Wendy E. Greve" <wgreve@pffwv.com>, Jayne Hudnall <jhudnall@pffwv.com>
  Cc: "tyler@haslamlawfirm.com" <tyler@haslamlawfirm.com>, "Burdette, Danica N." <dburdette@flahertylegal.com>


     Hi Kerry:


     I need to look at some things regarding this request and am under a deadline in another matter today and I
     also want to try to reach out to my client about it. I will give you a full response tomorrow even if I am
     unable to reach him. I did not want you to think I was ignoring this request since you asked for an answer
     ASAP.


     Best,


     Jamie



     James C. Stebbins
     Member




     Flaherty
     FLAHERTY SENSABAUGH BONASSO PLLC

     P.O. BOX 3843

     CHARLESTON, WV 25338

     OVERNIGHT:


     200 CAPITOL STREET

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     FAX: 304.345.0260




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